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                  IN THE UNITED STATES DISTRICT COURT FORTHE
                         WESTE,RN DISTRICT O[' OKI-AHOMA


UNITED STATES OF AMERICA,                                  )
                                                           )
                                    Plaintiff,             )
                                                           )            CASE              NO.   cR-18-02e-sLP

                                                           )
NAIF ABDULAZIZ      I\,4   ,   ALFALLAJ,
                                                           )
a/Ua Al-N4uthana Al-Najdi,
                                                           )
                                                           )
                                                           )
                                  Defendant.               )

                                   PETITION TO ENTER PLEA OF GUILTY

     The defendant states to the Court that the defendant wants to enter a plea of
GUILTY to the following COuntS of the Indictment Or InfOrmation: Counr 1 (Visa Fraud) and
Count 3 (Providing False, Fictitious, or Fraudulent Statements in a matter involving international terrorism)


       In connection with this plea of GUILTY, I, Naif Abdulaziz NI. Alfallaj          the
defendant in this case, inform the Court, under penalty of perjury, that I have discussed
these matters with my attorney and the answers to the following questions are true and
correct to the best of my knowledge and belief.

A.      BACKGROUND OUESTIONS

       Before the Court can accept your plea of guilty, it is necessary that the Court has
certain background information about you and this case. The questions in this section are
asked for this purpose.

1.      (a)       What is your name?               Naif Abdulaziz      N,'1.   Alfallaj


        (b)       What is your age?              Thirty-five (35)


2.      Are you currently employed? Yes _            No x
        If yes, what are the name, address and telephone number of your employer?



3.      How much education have vou had?                            U.S. equivalent of gth grade
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4        Have you ever received medical care or treatment for drug addiction and/or alcohol
         abuse? Yes           No x

         [f  so, prior to the hearing on the Petition to Enter Plea of Guilty, counsel for
         def'endant shall submit to the judge's orders mailbox a list of the dates, places, and
         types of treatment received by defendant.]



5        Have you ever received medical care or treatment for a mental or emotional
         condition?      Yes              No    x


         [f  so, prior to the hearing on the Petition to Enter Plea of Guilty, counsel for
         delendant shall submit to the judge's orders mailbox a list of the dates. places, and
         types of treatment received by defendant.]



6        (a)    Have you consumed any drug, alcohol or medication that is now impairing
         your ability to think clearly or to understand and answer the questions in this Petition
         to Enter Plea of Guilty? Yes _            No x
         (b)      Are there any medications prescribed for you that you are not now taking as
                  directed? Yes _            No x
                  If yes, does the fact that you are not taking the medication as directed impair
                  your ability to think clearly or to understand and answer the questions in this
                  Petition to Enter Plea of Guiltv? Yes             No

7.       If   an attorney is now representing you in this case, what is your attorney's name?
         William H. Campbell, Kenny Goza, [.4ichaelAbel


B.   N(*lf you have an attorney, have you had enough time to talk with your attorney about
         your case? Yes x          No

9.   Nl.\ If you have an attorney, have you told your attorney everything you know about
          your case? Yes x          No _

10.N+{f you have an attorney, are you satisfied with the services your attorney              has
     provided for you? Yes x       No _

11.n ,rpo you understand the charge(s) against you? Yes x                No
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B.      CONSTITUTIONAL RIGHTS . WAIVERS

       Before the Court can accept your plea of guilty, it is important that you understand
that you will be giving up many valuable consrirutional rights by entering a plea of guilty.
The questions in this section are designed to inform you of those rights.

12.     Do you understand you have a right to plead NOT GUILTY to every charge filed
        against y ou? Yes x      No

13.     Do you     understand    if   you plead      NOT GUILTY you have the following
        constitutional rights:

        (a)     the right to a speedy and public trial by jury?
                Yes   x      No

        (b)     the right to counsel at all stages of the proceedings, and that if
                you cannot afford to pay a lawyer, one will be appointed to
                represent you? Yes      x       No        _
        (c)     the right to see and hear all witnesses called to testify against
                you and the right to cross-examine them?
                Yes x         No

        (d)     the right to use the subpoena power of the Court to compel the
                attendance of witnesses at trial and the production of other
                forms of evidence? Yes      x     No

        (e)     the right not to be compelled to incriminate yourself by taking
                the witness stand; and that if you do not take the witness stand,
                no inference of guilt may be drawn from your failure to do so?
                Yes   x       No

        (f)     the right to be presumed innocent until the government has
                proved you guilty beyond a reasonable doubt by the unanimous
                agreement of all twelve of the jury members?
                Yes x        No




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14.     Do you understand if you plead GUILTY you will be found guilty without a trial
        and you will have given up all of the above rights, except the right to counsel?
        Yes X        No

1-5.    Do you understand if you ptead GUILTY to a felony offense this may deprive you
        of valuable civil rights including the right to vote, the right to hold public office, the
        right to serve on a jury, the right to possess any kind of firearm, destructive device
        or ammunition, and may make you ineligible for certain government benefits?
        Yes           No _          Not App licable x

16.     If you are not a citizen of the United States, pleading guilty may affect your
        immigration status. Pleading guilty may result in your deportation or removal from
        the United States, may prevent you from ever lawfully reentering or remaining in
        the United States, and may result in the denial of naturalization. Deportation is
        mandatory for certain offenses, including most crimes involving controlled
        substances. You may be deported or removed from the United States even if you
        are a legal resident and even if you have legally lived in the United States for many
        years. Do you understand?
        Yes x            No _        Not Applicable _

C.      SENTENCING.GENERAL

       Before the Court can accept your plea of guilty, it is important that you understand
certain aspects of the sentencing process. The questions in this section are designed for
that purpose.

17.     Do you realize if you plead GUILTY the maximum statutory sentence the judge
        may impose remains the same as if you had pled NOT GUILTY and had been
        convicted by a jury? Yes x      No _

18.     Do you know the sentence you will receive is solely a matter for the judge to decide?
        Yes x      No

t9      (a)     What is the maximum sentence the law provides for the offense(s) to which
                you want to plead GUILTY?
                Count   1:   Not more than ten (10)years imprisonmenl, a $250,000.00 fine, or both fine and imprisonment,
                and a $100.00 special assessment


                Count   3:   Not more than eight (8) years imprisonment, a $25O,OOO.00 fine, or both fine and im prisonment,
                and a $100.00 special assessment



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        (b)     Is there a minimum mandatory sentence the law provides for the offense(s)
                to which you want to plead GUILTY? Yes _         No x If yes, what
                is it?




        (c)     For certain offenses a term of supervised release must be imposed to be
                served after the person is released from a term of imprisonment. Is there a
                mandatory term of supervised release for the offense(s) to which you want to
                plead GUILTY? Yes _               No x If yes, what is the mandatory
                term?




                For all other offenses, thejudge may, in thejudge's discretion, impose a term
                of supervised release to be served following the person's release from
                imprisonment. What is the maximum term of supervised release that could
                be imposed in this case?
                Count 1: Three (3) years


                Count 3: Three (3) years




                What is the maximum term of imprisonment that could be imposed        if   your
                supervised release were revoked?
                Count 1: Two (2) years


                Count   3: Two (2) years




        (d)     Will you be forfeiting any property to the United States as a result of your
                guilty plea? Yes _        No x If yes, what property?



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20.     If you plead GUILTY, the judge may require you to make restitution to any victim
        of the offense [18 U.S.C. SS 3663 and 3664]. If you plead GUILTY to an offense
        that occurred on or after Apri|24,7996, and the offense falls into certain categories
        of offenses, including property offenses and crimes of violence, ordinarily the judge
        is required to order you to pay restitution to any victim of the offense [18 U.S.C.
        S 3663A1. Also, in certain cases, the law identifies specific classes of people or
        organizations that may be entitled to restitution. Restitution is a continuing
        obligation that does not end until it is paid in full. In other words, the United States
        may continue to seek restitution from you even though you are no longer serving a
        sentence of confinement or supervision. Do you understand all of this?
        Yes x         No

21.     The judge must impose a special assessment for each count to which you enter a
        plea of guilty. The amount of the special assessment depends on whether the
        offense is a felony or a misdemeanor [18 U.S.C. $ 3013]. In your case, taking into
        account each offense to which you want to plead guilty, the total amount of special
        assessment is $ 200.00                                    This amount will be due
        at the time of sentencing. Do you understand this? Yes x           No _

22.     If you are on probation or parole in this or any other court, do you know that by
        pleading GUILTY here your probation or parole may be revoked and you may be
        required to serve a sentence as a result of that revocation in addition to any sentence
        imposed upon you in this case? Yes x              No _

23.     Do you understand that in certain circumstances a federal judge may order a federal
        sentence of imprisonment to run at the same time as a state sentence of
        imprisonment? Yes         x    No   _
24      Do you understand    if yo u are convicted of a violation of Title 18, United States
        Code, Section 924(c),, the term of imprisonment imposed for that conviction cannot
        be served concurrently w ith any other term of imprisonment?
        Yes _        No_           Not App licable x




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D. SENTENCING GUIDELINES AND                                 OTHER         SENTENCING
        CONSIDERATIONS

25      In determining an appropriate sentence for a federal crime, the judge must consider
        the Sentencing Guidelines developed by the United States Sentencing Commission.
        The Sentencing Guidelines are advisory in nature, not mandatory. Thejudge must
        consider imposing a sentence within the range established by the Sentencing
        Guidelines, but the judge may impose a sentence either above or below that range.
        Do you understand this? Yes x          No _

26      In calculating the range of sentence under the advisory Sentencing Guidelines, the
       judge will take into account all conduct, circumstances, and injuries associated with
       your criminal conduct, whether or not this conduct is formally charged by the
       government. The judge will consider all relevant conduct at the time of sentencing
       even though you are pleading guilty to fewer than all counts in the Indictment or
        Information. Do you understand this? Yes x             No

27.     Also, there is no limitation placed on the information the judge can consider at the
        time of sentencing concerning your background, character, and conduct so long as
        the information is reliable. The judge will take all of these factors into
        consideration in determining an appropriate sentence. Do you understand this?
        Yes x         No

28. If the judge orders a presentence      investigation, a U.S. Probation Officer will be
        assigned to conduct a thorough investigation and prepare a presentence report for
        thejudge's use. Do you understand that ifyou lie to the U.S. Probation Officer, or
        if you cause others to lie on your behalf, this can be considered by the judge and
        may increase the range of sentence calculated under the advisory Sentencing
        Guidelines? Yes     x       No

29.     Your history of prior criminal convictions will be used to compute your Criminal
        History Category under the Sentencing Guidelines. If you have prior felony
        convictions which were imposed or for which you have served time within the past
        15 years, your Criminal History Category may be increased. Similarly, if you have
        received misdemeanor convictions within the past 10 years, your Criminal History
        Category may be increased. Certain exceptions may apply in your case that would
        exclude    a   conviction from the Criminal History Category computation.
        Nonetheless, do you understand your prior criminal history has a direct impact on
        the calculation of the sentencing range under the advisory Sentencing Guidelines?
        Yes   x       No


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30.    Do you understand         if   you committed the present offense(s) while you were on
       probation, parole, supervised release, or escape status, this will increase the number
       of points assessed in your criminal history computation. If this increases your
       Criminal History Category, do you understand it may increase the range of sentence
       calculated under the advisory Sentencing Guidelines? Yes x               No _

31.    Do you understand if this offense is a crime of violence or a drug trafficking offense,
       and if you have two prior felony convictions of either a crime of violence or a drug
       trafficking offense, you could be sentenced as a career criminal offender which
       would increase the sentence you receive?
       Yes _         No _       Not Applicable x

32.    The maximum sentence for the offense(s) to which you want to plead guilty is the
       statutory maximum set out in flIl 79,20 and 21 above. If you are pleading guilty to
       more than one count, you could receive the maximum sentence on each count of
       conviction running consecutively (C/S). See USSG S 5G1.2. Do you understand
       this? Yes x        No

-)J.   In certain cases, the law requires the judge to impose a mandatory minimum term
       of imprisonment. The judge may not impose a sentence below a mandatory
       minimum term unless the United States Attorney, in his or her discretion, files a
       motion. Do you understand this? Yes _           No _     Not Applicable X

34.    Parole is not available in the federal system. If you are sentenced to a term of
       imprisonment, you will serve the entire time imposed (less any earned good time
       credits that may be applied to reduce the amount of time you actually serve). The
       maximum amount of credit you may receive against your sentence will be
       determined by the Bureau of Prisons and is limited by statute [18 U.S.C. S 36241.
       Do you understand this? Yes x           No _

35.    If at least one year of imprisonment is ordered in your case, the judge may also
       impose a term of supervised release, which you will begin serving after you are
       released from custody. For certain offenses, a term of supervised release is
       mandatory. During any term of supervised release, you will be subject to
       conditions that will include refraining from any additional violations of local, state
       or federal law, reporting requirements, travel and residence restrictions, and testing
       for controlled substance use. If you violate the conditions of your supervised
       release, the judge may revoke your supervised release and sentence you to an
       additional term of imprisonment. This additional term of imprisonment would be
       served without credit for the time you successfully spent on supervised release. Do
       you understand this? Yes x            No



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        The judge has the discretion to impose another term of supervised release, to be
        served after you serve your sentence for violating the first term of supervised
        release. Ifyou violate your supervised release again, you can be sentenced to serve
        more time, followed by more supervised release, at the discretion of the judge.
        Under certain circumstances there is no limit to the number of times supervised
        release can be revoked and another term of supervised release imposed. Do you
        understand this? Yes x        No

36.     In some circumstances, the judge may decide that your case warrants imposing a
        sentence with conditions other than incarceration for the full term of the sentence.
        Options available to the judge include probation, home confinement, community
        confinement, electronic monitoring, intermittent confinement, or a combination of
        any of these. Do you understand this? Yes x           No _

37.     If you plea d guilty to a federal sex offense, you may be subject to state laws
        requiring th e registration of sex offenders. Do you understand this?
        Yes _          No _         NotApplicable x

E.      VOLUNTARY NATUREOFPLEA

38.     Are your plea(s) of GUILTY and the waivers of your rights made voluntarily and
        completely of your own free choice, free of any force or threats or pressures from
        anyone? Yes x         No _

39. (u)          Have you entered into a plea agreement with the government?
                 Yes x       No

        (b)      If so:

                 Is this a conditional plea pursuant to Fed. R. Crim. P. 11(a)(2) that reserves
                 certain rights to appeal? Yes _         No x
        If   yes, what issues are reserved for appeal?




        Have you read the plea agreement or had the plea agreement read to you?
        Yes     x  No



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        Have you had enough time to discuss the plea agreement with your attorney?
        Yes   x    No

        Were all the terms of the plea agreement explained to you, including any
        waivers of your rights? Yes x       No _

        Do you understand all of the terms of the plea agreement, including the
        waivers of your rights? Yes x      No _

        (c)       What are your reasons for making that agreement?
        To accept responsibility for my conduct.




        (d)    If your plea of GUILTY involves a plea agreement, do you understand that
        the judge can reject the plea agreement after completion of the presentence
        investigation if the judge finds that the plea agreement is not in the interests of
        justice? Yes x          No _

40.     Has any promise been made by anyone that causes you to plead GUILTY aside from
        the plea agreement, if any, set out in your answer to question 39?
        Yes   _     No        x lf yes. what promise has been made and by whom?



41.     (a)    Has any officer, attorney or agent of any branch of government (federal, state
        or local) promised or predicted that you will receive a lighter sentence, or probation,
        or any other form of leniency if you plead GUILTY?
        Yes           No x
        (b)    Do you understand no one has any authority to make any such promise or
        prediction on your sentence because the matter of sentencing is exclusively within
        the control of the judge and no one else? Yes x        No _

42.     Has the judge made any suggestion as to what the actual sentence         will   be?
        Yes          No x
43.     Are you pleading GUILTY because you are                  guilty? Yes x   No     _
44      Is there any other information or advice that you want before you enter a plea?
        Yes              No    x




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F.    CONCLUSION/FACTUALBASIS
,l<   Has your attorney reviewed and discussed with you all of these questions and your
      answers to them? Yes           Nox
46.   Do you understand all of these questions?                   Yes x            No

      If not, which questions do you not understand?



47. (a)             Do you now want to plead GUILTY? Yes x                             No

      (b)           Are you GUILTY? Yes x                        No

48    State what you did           to commit the offense(s) to which you are now pleading
      GUILTY.
      Within the jurisdictional boundaries of the United States Diskict Court for the Western District of Oklahoma
      I knowingly possessed a non-immigrant     visai the visa was procured by materially false statements on
      its application form; I knew such statements were materially false. Also within the above stated Western
      District Court, I made statements to a federal agent which I knew were false, my statements were made
      deliberately and intentionally, in regard to an investigation by the Executive Branch, i.e., the FBl, and
      were pertinent to an investigation being conducted regarding an offense of international terrorism




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       I understand that if I have knowingly and intentionally made any false answers in
this Petition to Enter Plea of Guilty, my answers may be used against me in another
prosecution for perjury or making a false statement.

       Signed by me and affirmed to be true under penalty of perjury in the p resence of my
attorney on 16i5 :+d 5+" day of December


 nterpret           r                                        Defend

                            CERTII'ICATE OF DEFBNSE COUNSEL

           I,   as attorney for the defendant   Naif Abdulaziz M. Alfallaj                          hereby
certify:

           1. I have read and fully explained to the defendant the allegations contained in
the Indictment or Information in this case.
       2. To the best of my knowledge and belief the statements, representations, and
declarations made by the defendant in this Petition to Enter Plea of Guilty are in all respects
accurate and true.
        3.    The plea            of
                                 guilty offered                 by the
                                                                defendant       Counr(s)  to                   l+3
accords with my understanding of the facts the defendant has related to me, is consistent
with my advice to the defendant, and in my opinion is knowingly and voluntarily made.
        4.    I assure the Court that I have advised the defendant about the applicable
sentencing procedures, including procedures under the Sentencing Guidelines, and I have
explained to the defendant the potential consequences of a plea of guilty in light of the
questions and concerns set forth in Sections C and D of this Petition.

       Signed by me in the presence of the defendant and after                  full   discussion   of   the
contents of this certificate wirh the defendant, this W t+/,                                        day of
December            2018




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                     CERTIFICATE OF PROS ECUTINGATTORNEY

        As attorney for the government, I hereby certify:

       1. I have read and fully discussed with defense counsel the allegations
contained in the Indictment or Information in this case.
       2. I have also reviewed this Petition to Enter Plea of Guilty and find it to be in
accordance with my knowledge of the defendant and this case.
       3. In my judgment, acceptance of the defendant's plea(s) of guilty to the
charge(s) in question will not undermine the statutory purposes of sentencing.

        Signedby me         rhisfiisl?duror@,                                                _zo   ltr


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                                                               At     y for the Government




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